Case: 1:22-cr-00236-BYP Doc #: 52 Filed: 10/19/23 1 of 1. PageID #: 165




 PEARSON, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 UNITED STATES OF AMERICA,                        )
                                                  )     CASE NO. 1:22-CR-236
                Plaintiff,                        )
                                                  )
                v.                                )     JUDGE BENITA Y. PEARSON
                                                  )
 TAHA ALBANNA (2),                                )
                                                  )
                Defendant.                        )     MODIFIED REFERRAL ORDER



        Pursuant to General Order 99-49, this case is referred to the United States Magistrate

 Judge for purposes of arraigning Defendant Taha Albanna on the Supplemental Information and

 receiving, on consent of the parties, Defendant’s offer of a plea of guilty, conducting the colloquy

 prescribed by Fed. R. Crim. P. 11, causing a verbatim record of the proceedings to be prepared,

 referring the matter, if appropriate, for presentence investigation, and submitting a Magistrate

 Judge’s Report and Recommendation stating whether the plea should be accepted and a finding

 of guilty entered.



        IT IS SO ORDERED.


    October 19, 2023                             /s/ Benita Y. Pearson
 Date                                          Benita Y. Pearson
                                               United States District Judge
